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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                             Case No. 21-20548
             Plaintiff,                      Hon. Judith E. Levy
                                             Mag. Judge Elizabeth A. Stafford
v.

PHILLIP CAPE,

            Defendant.
______________________________/

                 NOTICE TO APPEAR/SCHEDULING ORDER

       MOTIONS DUE BY: Within twenty (20) days of the date of arraignment.

          The defendant is hereby notified to appear before the Judith E. Levy,
United States District Judge, at 200 East Liberty Street, Ann Arbor, MI 48104 for
the following proceedings:

       PLEA HEARING/CUT-OFF:                       October 12, 2021 at 10:30 a.m.

       FINAL PRETRIAL CONFERENCE:                  October 12, 2021 at 10:30 a.m.

       JURY TRIAL:                                 October 25, 2021 at 8:30 a.m.

       Pursuant to the Due Process Protections Act, the court reminds the
government of its obligations under Brady v. Maryland, 373 U.S. 83 (1963), to
disclose evidence favorable to the defendant and material to the defendant’s guilt or
punishment. Failure to comply with Brady and to do so in a timely manner may
result in consequences, including dismissal of the indictment or information,
exclusion of government evidence or witnesses, adverse jury instructions, dismissal
of charges, contempt proceedings, sanctions by the Court, or any other remedy that is
just under the circumstances.

       SO ORDERED.

Date: September 2, 2021                      s/Judith E. Levy
      Ann Arbor, Michigan                    JUDITH E. LEVY
                                             United States District Judge
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served upon
counsel of record and any unrepresented parties via the Court's ECF System to their
respective email or First Class U.S. mail addresses disclosed on the Notice of
Electronic Filing on September 2, 2021.

                                            s/William Barkholz
                                            WILLIAM BARKHOLZ
                                            Case Manager
